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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

FRED WATSON,                                      )
                                                  )
               Plaintiffs,                        )
                                                  )
         v.                                       )   Case No. 4:17-cv-2187
                                                  )
CITY OF FERGUSON, MISSOURI, et al.                )
                                                  )
               Defendants.                        )

         DEFENDANTS’ CONSENT MOTION FOR LEAVE TO FILE
 DEFENDANTS’ REPLY IN SUPPORT OF THEIR JOINT MOTION FOR SUMMARY
               JUDGMENT IN EXCESS OF FIFTEEN PAGES

         COME NOW Defendant City of Ferguson and Defendant Eddie Boyd (collectively,

“Defendants”), by and through their undersigned counsel, and with the consent of Plaintiff, hereby

seek leave to file Defendants’ Reply in Support of their Joint Motion for Summary Judgment in

excess of the Court’s 15-page limit for motion briefs, up to a maximum of twenty-five (25) pages.

In support of this Motion, Defendants state as follows:

         1.    On November 22, 2021, Defendants filed their Memorandum in Support of their

Joint Motion for Summary Judgment, which was thirty (30) pages long. (Doc.#: 186).

         2.    On January 21, 2022, Plaintiff filed his Response to Defendants’ Motion for

Summary Judgment, which was forty-five (45) pages long, as well as his Statement of Additional

Material Facts that spanned three hundred and twenty-nine paragraphs (329) and forty-one (41)

pages.

         3.    In order to properly reply to Plaintiff’s Response, Defendants request leave to file

Defendants’ Reply in Support of their Motion for Summary Judgment in excess of this Court’s

fifteen (15) page limit, up to and including thirty-five (25) pages.
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       4.      The additional pages are necessary because Defendants filed a joint motion

addressing Plaintiff’s claims against both the parties, the breadth of arguments raised by Plaintiff

in his Response to Defendants’ Motion for Summary Judgment, as well as the complexity of the

issues before this Court.

       5.      Counsel for Plaintiff has consented to this request.

       WHEREFORE, Defendants respectfully request that the Court grant them leave to file a

Reply in Support of their Joint Motion for Summary Judgment in excess of fifteen (15) pages, not

to exceed twenty-five (25) pages, and for such other and further relief as the Court deems

appropriate.

                                              LEWIS RICE LLC

                                              By: /s/ Jacqueline K. Graves
                                                     Ronald A. Norwood, #33841MO
                                                     Aarnarian D. Carey, #58286MO
                                                     Jacqueline K. Graves, #64875MO
                                                  600 Washington Ave., Suite 2500
                                                  St. Louis, Missouri 63101
                                                  (314) 444-7759 (Telephone)
                                                  (314) 612-7759 (Facsimile)
                                                  rnorwood@lewisrice.com
                                                  acarey@lewisrice.com
                                                  jgraves@lewisrice.com

                                              Attorneys for Defendant City of Ferguson

                                              REEVES LAW LLC

                                              By: /s/ John M. Reeves
                                                  John M. Reeves, #59634MO
                                                  7733 Forsyth Blvd.,
                                                     Suite 1100--#1192
                                                  St. Louis, MO 63105
                                                  314-775-6985
                                                  reeves@reeveslawstl.com

                                              Attorney for Defendant Eddie Boyd, III




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 15th day of February, 2022, a true copy hereof
was electronically filed with the Clerk of the Court using the CM/ECF system, to be served by
operation of the Court’s electronic filing system on all counsel of record.

                                                    /s/ Jacqueline K. Graves




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